            Case 1:17-sw-00489-MSN Document 1 Filed 08/03/17 Page 1 of 10 PageID# 1
AO 106 (Rev. 04/10) Application for a Search Warrant


                                      United States District CiDURir
                                                                     for the

                                                         Eastern District of Virginia

              In the Matter of the Search of
          (Briefly describe the property to besearched
           or identify thepersonbyname andaddress)                                Case No. 1:17-SW-489

A GREY NISSAN ALTIMA (VA LICENSE TAG 1607WA)


                                             APPLICATION FOR A SEARCH WARRANT

           I a federal law enforcement officer oran attorney for the government, request a search warrant and state under
penalty ofperjury that I have reason to believe that on the following person or property (identify the person or describe the
                                                Reference



located in the               Eastern             District of              Virginia               , there is now concealed (identify the
person or describe the property to beseized)'.
  See Attachment B, Incorporated by reference


           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  sT evidence ofa crime;
                  (STcontraband, fruits ofcrime, orother items illegally possessed;
                  SZTproperty designed for use, intended for use, or used in committing acrime;
                  • a person tobe arrested ora person who is unlawfully restrained.
            The search is related to a violation of;
              Code Section                                                           Offense Description
          18 U.S.C.§ 922(g)(9)                     Possession of a firearm by a person convicted of a crime of domestic violence



          See attached^a®lv^t^of^                              Special Agent, Bureau of Alcohol, Tobacco, Firearms, and Explosives
          (ATF), incorporated by reference

            fif Continued onthe attached sheet.
            • Delayed notice of                   days (give exact ending date ifmore than 30 days:                       ) is requested
                 under 18 U.S.C. § 3103a, the basis of which is setforth onthe attached sheet.


                                                                                                 ipplicant's s^r^^re
                                                                                        John M. Capano, Special Agent (ATF)
                                                                                                 Printed name and title
                                                                                                /s/
 Sworn to before me and signed in my presence.                                 Michael 8. Nachmanoff
                                                                               United States Magistrate Judge
  Date:            08/03/2017
                                                                                                   Judge's signature

  City andstate; Alexandria, Virginia                                           Hon. Michael S. Nachmanoff, U.S. Magistrate Judge
                                                                                                 Printed name and title
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                                      ATTACHMENT A


                                     Places to be searched

        The Target Residence, 311 Mews Court, Stafford, Virginia, 22556, is a townhouse-style
residence with tan-colored siding and four windows on the front side. The windows are bordered
by white and green trim. Aflight ofsteps leads up to the front entrance, which consists ofaglass
outer door and a dark-colored inner door. The numerals "311" are displayed in gold lettering to
the left of the front door.

        The Target Vehicle is a grey, four-door Nissan Altima, bearing Virginia license tag
1607WA (collectively, with the "Target Residence," the "Target Premises").
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                                       ATTACHMENT B


                                       Items to be Seized


       All items constituting evidence, fruits, and/or instrumentalities ofviolations of 18 U.S.C.
§922(g)(9) (unlawful possession ofafirearm by aprohibited person), including the following:
       a. Firearms, including, but not limited to, parts, accessories, holsters, and ammunition;
       b. Records, documents, notes, ledgers, receipts, bank statements, money drafts, letters of
          credit, money orders, cashier's checks, pass books, bank checks, communications, and
          any other records—^including any computerized or electronic records maintained on
          cellular telephones, computers, personal tablets, laptop computers, and other personal
           electronic devices—evidencing the obtaining, secreting, transfer, concealment,
           possession, and/or storage offirearms, parts, accessories, holsters, and ammunition;
       c. Address and/or telephone books and papers—^including computerized or electronic
          address and/or telephone records—^reflecting names, addresses and/or telephone
           numbers;

       d. Photographs, in particular, photographs of firearms, photographs of individuals
          possessing firearms, and photographs showing the association ofindividuals; and
       e. Indicia of occupancy, residence, and/or ownership of the premises described herein,
          including, but not limited to, utility and telephone bills, cancelled envelopes, and keys.
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                      IN THE UNITED STATES DISTRICT COURlfffiR [j |]_                      E 'pVf
                          THE EASTERN DISTRICT OF VIRGINIaIt p —                            —rii \
                                                                                     • 3 2017
IN THE MATTER OF THE SEARCH OF
                                                   (UNDER SEAL")
311 MEWS COURT, STAFFORD,                                                           c-ismcrcaEif .=
VIRGINIA, 22556, AND A GREY NISSAN
                                                   No. l:17-SW-489
ALTIMA (VA LICENSE TAG 1607WA)

      AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

       I, John M. Capano,being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

       1.      I have been a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF) since 2016,        Prior to my appointment with ATF, I was a sworn law

enforcement officer with the City of New York fi-om 2014 to 2016. In my capacity as a law

enforcement officer, I have investigated individuals for the illegal possession and use of

firearms, illegal possession and distribution of controlled substances, and violent crimes. Many

of these investigations involved the execution of search warrants, and led to the arrest and

conviction of individuals for violations of state and federal firearms and drug trafficking laws.

       2.      I submit this affidavit in support of an application for a search warrant for a

residence located at 311 Mews Court, Stafford, Virginia, 22556 and structures within the

curtilage (the "Target Residence"), and a grey Nissan Altima bearing Virginia license tag

1607WA (the "Target Vehicle"), as described in Attachment A (collectively, the "Target

Premises").

       3.      Based upon the facts set forth herein, I submit there is probable cause to believe

that BRANDON LOCKE, having been previously convicted of a misdemeanor crime of

domestic violence, has unlawfully possessed a firearm, in violation of Title 18, United States

Code, Section 922(g)(9), and that the Target Premises, as described in Attachment A, contain
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evidence, contraband, fruits, and/or instrumentalities of these criminal activities, as described in

Attachment B.


       4.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavitis intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

                                      PROBABLE CAUSE


       5.       On or about August 9, 2011, in Muscogee County State Court, Columbus,

Georgia, BRANDON LOCKE was convicted of family violence battery, in violation of Ga. Code

Ann. § 16-5-23.1(f), a crime of domestic violence as defined by Title 18, United States Code,

Sections 922(g)(9) and 921(a)(33).

       6.       On or about May 5, 2017, law enforcement officers encountered a confidential

witness ("CW") standing outside of 201 N Street SW, Washington, D.C. The officers observed

CW and other individuals consuming alcohol as they stood around a BMW sedan bearing

Virginia registration tags.

        7.      Officers approached and spoke to CW, who identified the BMW as his own. CW

also admitted to the officers that he possessed a Glock firearm for which he did not have a

license. Law enforcement thereafter searched CW and the BMW and found two Glock firearms,

cellular telephones, a digital scale, $3125.00 in U.S. currency, a Virginia firearm bill of sale, and

approximately 25.3 gramsof a substance that field-tested positive for the presence of cocaine.

        8.      The bill of sale seized from CW's car identified the subject of the sale as a Ruger

LCP .380 pistol bearing serial number 371248820. The bill of sale listed the seller of the firearm

as CW, and the buyer as BRANDON LOCKE, with a driver's license number of T67365384,

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and an address of 311 Mews Court, Stafford, Virginia—i.e., the Target Residence address.

According to the bill of sale, LOCKE paid CW $250 for the firearm on March 4,2017.

       9.      In an interview with law enforcement, CW confirmed he had sold the pistol

identified in the bill of sale to a fiiend. A subsequent search of one of CW's cellular telephones

revealed numerous photographs of firearms, including a shotgun, a rifle, and multiple pistols,

       10.     On August 1, 2017, at approximately 10:46 a.m., investigators conducting

surveillance observed BRANDON LOCKE exit the Target Residence.' LOCKE then walked

approximately 200 feet to the parked Target Vehicle, entered the vehicle, and departed.

       11.     Following this surveillance, investigators queried a law enforcement database,

and determined the Target Vehicle was registered to BRANDON LOCKE at the Target

Residence address. Registration records identified LOCKE's Virginia driver's license number as

T67365384—^the same license number as appears on the bill of sale seized from CW's vehicle.

       12.     On August 2, 2017, at approximately 4:50 a.m., an investigator surveilling the

Target Residence observed the Target Vehicle parked in the same vicinity as on August 1,2017.

       13.     On August 3, 2017, at approximately 5:05 a.m., an investigator surveilling the

Target Residence observed the Target Vehicle parked in the same vicinity as on the prior two

days. The Target Vehicle was parked with a different orientation to the curb than on August 2,

indicating that LOCKE used the car on August 2, and returned to the Target Residence.

       14.     From my training and experience, I know that individuals who possess firearms—

including those who possess them unlawfully—commonly possess, secrete, conceal, and store




       ' Investigators, having previously reviewed booking photographs of BRANDON
LOCKE, were able to identify him as the individual they surveilled on August 1,2017.
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firearms, including parts, accessories, holsters, and ammunition, in places where the possessor

has ready access to them, such as secured locations within the possessor's residence or vehicle,

or the residences of friends, family members, and associates. In the present investigation, for

instance, law enforcement recovered two Glock pistols from the center console of CW's vehicle.

        15.    I also know from my training and experience, that individuals who possess

firearms—including those who possess firearms unlawfully—commonly maintain records,

documents, notes, ledgers, receipts, bank statements, money drafts, letters of credit, money

orders, cashier's checks, pass books, bank checks, communications, and other papers relating to

the obtaining, secreting, transfer, concealment, possession, and storage of these firearms. These

records are maintained where firearms possessors have ready access to them, such as in secured

locations within the possessor's residence or vehicle, or the residences of fiiends, family

members, and associates. In the present matter, for instance, law enforcement recovered from

CW's vehicle a firearm bill of sale that documented the sale of a Ruger .380 pistol to LOCKE, It

is also common that such records are maintained on computers, cellular telephones, personal

tablets, laptop computers and other personal electronic devices.

        16.    I know from my training and experience that individuals who deal in the unlawful

sale or purchasing of firearms commonly maintain addresses and telephone number books or

papers that reflect names, addresses and telephone numbers for the individuals with whom they

conduct such transactions. These telephone records, bills and pager numbers are often found in

in the possessor's place of residence or vehicle, or the residence of friends, family members, or

associates.   It is also common that such records are maintained on computers, cellular
                                                                          <•




telephones, personal tablets, laptop computers and other personal electronic devices.



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       17.       From my training and experience, I am aware that individuals who possess

fireanns—^including those who possess firearms unlawfully—often take photographs of

themselves and their associates in possession of firearms. These photos are typically maintained

on computers, cellular telephones, personal tablets, laptop computers and other personal

electronic devices, in the possessor's place of residence or vehicle, or the residences of fiiends,

family members, or associates. In the present investigation, for instance, investigators searching

CW's cellular telephone found photographs of various firearms, including a shotgun, a rifle, and

multiple pistols, including one with an extended magazine.

                                         CONCLUSION


       18.      Based upon the foregoing, I submit there is probable cause to believe that

BRANDON LOCKE, having been previously convicted of a misdemeanor crime of domestic

violence, has unlawfully possessed a firearm, in violation of Title 18, United States Code,

Section 922(g)(9), and that the Target Premises, as described in Attachment A, contain evidence,

contraband, fhiits, and/or instrumentalities of these criminal activities, as described in

Attachment B.


                                                  Respectfully submitted,



                                                  Johij/J(C Capano
                                                  Special Agent (ATF)

       Subscribed and sw^n^ to before me on August ^ ,2017
                           iimanoff
             Michael S. Nachmanoff
             United States Magistrate Judge
       The Honorable Michael S. Nachmanoff
       United States Magistrate Judge
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                                        ATTACHMENT A


                                      Places to be searched


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                                       ATTACHMENT B


                                        Items to be Seized


       All items constituting evidence, fruits, and/or instrumentalities of violations of 18 U.S.C.

§ 922(g)(9) (unlawful possession of a firearm by a prohibited person), including the following:

       a. Firearms, including, but not limited to, parts, accessories, holsters, and ammunition;

       b. Records, documents, notes, ledgers, receipts, bank statements, money drafts, letters of
          credit, money orders, cashier's checks, pass books, bank checks, communications, and
          any other records—^including any computerized or electronic records maintained on
          cellular telephones, computers, personal tablets, laptop computers, and other personal
          electronic devices—evidencing the obtaining, secreting, transfer, concealment,
          possession, and/or storage of firearms, parts, accessories, holsters, and anmiunition;

       c. Address and/or telephone books and papers—^including computerized or electronic
          address and/or telephone records—^reflecting names, addresses and/or telephone
           numbers;

       d. Photographs, in particular, photographs of firearms, photographs of individuals
          possessing firearms, and photographs showing the association of individuals; and

       e. Indicia of occupancy, residence, and/or ownership of the premises described herein,
          including, but not limited to, utility and telephone bills, cancelled envelopes, and keys.
